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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

                                  CRIMINAL MINUTES



Date: November 29, 2022 (Time: 4 hours, 40 mins) JUDGE: Yvonne Gonzalez Rogers

Case No: CR-21-00429-YGR
Case Name: UNITED STATES v. RAY J. GARCIA


Attorney for Plaintiff: Andrew Paulson; Molly Priedeman
Attorney for Defendant: James Reilly


Deputy Clerk: Kelly Collins             Court Reporter: Pamela Batalo Hebel



                                       PROCEEDINGS

      Jury Trial, Day 2 - HELD.

            (See Attached Trial Log)




CASE CONTINUED TO: November 30, 2022, at 8:00 a.m. for Further Jury Trial.
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                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA

Case No: 21-cr-00429-YGR-1
Case Name: USAv. Garcia

                          TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                           PLAINTIFF ATTORNEY:                    DEFENSE ATTORNEY:
 Yvonne Gonzalez Rogers           Andrew Paulson; Molly Priedeman        James Reilly
 TRIAL DATE:                      REPORTER(S):                           CLERK:
 November 29, 2022                Pamela Batalo Hebel                    Kelly Collins

 PLF   DEF DATE/TIME
 NO.   NO. OFFERED           ID      REC     DESCRIPTION                                            BY
                                             Tuesday, November 29, 2022
             7:59 a.m.                       Court is in session; Discussion with counsel outside
                                             the presence of the jury.
             8:05 a.m.                       Witness is sworn under seal.
             8:06 a.m.                       Court is in recess.
             8:33 a.m.                       Court is in session.
             8:35 a.m.                       Jury is present.
             8:36 a.m.                       Cross examination of witness Melissa by Mr. Reilly
                                             continues.
             8:59 a.m.                       Redirect examination of witness Melissa by Ms.
                                             Priedeman.
             9:09 a.m.                       Witness Melissa is excused for the day subject to
                                             recall.
             9:10 a.m.                       Court instructs jurors on factual stipulations.
             9:11 a.m.                       Andrew Paulson reads factual stipulations #1, 2, and
                                             7 into the record.
             9:12 a.m.                       Government calls its second witness BOP
                                             Correctional Officer Stephanie Milliken.
             9:13 a.m.                       Witness is sworn and testified under direct
                                             examination by Andrew Paulson.
 341         11/29/2022                      Inmate Discipline Report – PD 15 -Chrono
 342         11/29/2022                      Inmate Discipline Report – PD 15 – Special
 343         11/29/2022                      Inmate Discipline Report – Pending
 344         11/29/2022                      Inmate Discipline Report – DARTS
 60          11/29/2022                      Request for Transfer – Victim 1
             9:48 a.m.                       Cross examination of witness Officer Milliken.
             9:57 a.m.                       Jury in recess.
             9:58 a.m.                       Discussion with counsel regarding exhibits #58 and
                                             59.
             10:04 a.m.                      Court in recess.

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                              Case No: 21-cr-00429-YGR-1
                               Case Name: USA v. Garcia

                        EXHIBIT and WITNESS LIST CONTINUED

PLF   DEF DATE/TIME
NO.   NO. OFFERED        ID   REC    DESCRIPTION                                             BY
          10:20 a.m.                 Court is back in session.
           10:21 a.m.                Jury is present. Cross examination of witness Officer
                                     Milliken continues.
      58   11/29/2022    X    X      Denial of Compassionate Release – Victim 2
      59   11/29/2022    X    X      Request for Compassionate Release – Victim 2
           10:43 a.m.                Redirect examination of witness Officer Milliken by
                                     Andrew Paulson.
           10:45 a.m.                Witness Officer Milliken is excused.
           10:46 a.m.                Government calls its third witness Maria.
           10:46 a.m.                Witness is sworn and testified under direct
                                     examination by Andrew Paulson with the assistance
                                     of Spanish Interpreter Conchita Lozano.
214        11/29/2022    X    X      Inmate Photo – Victim 2
1          11/29/2022    X    X      Dried Rose
           11:20 a.m.                Andrew Paulson reads factual stipulation #16 into the
                                     record.
273        11/29/2022    X    X      Request for Compassionate Release – Victim 2
                                     (Certified Translation)
327        11/29/2022    X    X      Photo of Hallway Near F-Unit Laundry Room
328        11/29/2022    X    X      Photo of F-Unit Laundry Room (LAF2)
337        11/29/2022    X    X      Photo of F-Unit Laundry Room (LAF2)
           11:51 a.m.                Court and jury in recess.
           12:11 p.m.                Court in session; jury is present.
           12:12 p.m.                Direct examination of witness Maria by Andrew
                                     Paulson continues.
           12:42 p.m.                Cross examination of witness Maria by James
                                     Reilly.
           1:00 p.m.                 Redirect examination of witness Maria by Andrew
                                     Paulson.
287        11/29/2022    X    X      Harley Davidson Daily Planner
           1:05 p.m.                 Re-cross examination of witness Maria by James
                                     Reilly.
           1:07 p.m.                 Witness Maria is excused.
           1:08 p.m.                 Government calls its fourth witness Aurelia.
           1:09 p.m.                 Witness is sworn and testified under direct
                                     examination by Molly Priedeman with the assistance
                                     of Spanish Interpreter Conchita Lozano.
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                             Case No: 21-cr-00429-YGR-1
                              Case Name: USA v. Garcia

                       EXHIBIT and WITNESS LIST CONTINUED

PLF   DEF DATE/TIME
NO.   NO. OFFERED       ID   REC    DESCRIPTION                                           BY
320       11/29/2022    X    X      Photo of F-Unit Exterior 3
          1:31 p.m.                 Cross examination of witness Aurelia by James
                                    Reilly.
          1:39 p.m.                 Witness Aurelia is excused.
          1:41 p.m.                 Jury is released for the day.
          1:42 p.m.                 Discussion with counsel outside the presence of the
                                    jury.
          1:43 p.m.                 Court is adjourned until Tuesday, November 30,
                                    2022, at 8:00 a.m.




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